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         AO
          AO450
             450(GAS
                 (GASRev
                     Rev.10/03)
                          6/03) Judgment in a Civil Case



                                       United States District Court
                                                 Southern District of Georgia
                  LANGSTON AUSTIN; and ERNEST
                  FULLER, III, on behalf of
                  themselves and all others
                  similarly situated,                                             JUDGMENT IN A CIVIL CASE


                                            V.                                    CASE NUMBER: 2:20-cv-73

                  GLYNN COUNTY, GEORGIA; and
                  E. NEAL JUMP, individually,




                   Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
                   has rendered its verdict.


            ✔      Decision by Court. This action came before the Court. The issues have been considered and a decision has been rendered.

                   IT IS ORDERED AND ADJUDGED

                   that in accordance with the Order of this Court dated -DQXDU\7'HIHQGDQWV 0RWLRQto Dismiss LV*5$17('

                   DQG3ODLQWLIIV'Amended &RPSODLQWLV',60,66(' with prejudiceThis civil action standsclosed.




            Approved by: ________________________________
                        HON. LISA GODBEY WOOD, JUDGE



               January 8, 2021                                                  -RKQ7ULSOHWW$FWLQJ&OHUNRI&RXUW
           Date                                                                Clerk



                                                                               (By) Deputy
                                                                                    Deputy Clerk
GAS Rev 10/1/03
